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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA




    SLAM DUNK I, LLC, on behalf of itself
    and all others similarly situated,

           Plaintiff,                                 Case: 1:19-cv-21996-MGC

           v.

    CONNECTICUT GENERAL LIFE
    INSURANCE COMPANY,

           Defendant.



               DECLARATION OF ANNE MARIE NICHOLAS IN SUPPORT OF
               DEFENDANT’S MOTION TO DISMISS AMENDED COMPLAINT

          I, Anne Marie Nicholas, declare under penalty of perjury that the following is true

   and correct:

          1.      I am a Business Project Senior Analyst for Defendant Connecticut General

   Life Insurance Company. I am familiar with the facts and circumstances set forth in this

   Declaration.

          2.      I submit this Declaration in support of Defendant’s Motion to Dismiss

   Plaintiff Slam Dunk I, LLC’s Amended and Supplemental Class Action Complaint.

          3.      Paragraphs 35 and 36 of the Amended Complaint refer to cost of insurance

   (“COI”) rates for three group universal life policies issued by Defendant: Policy No.

   M101500 issued to Hyatt Corporation, Policy No. M104310 issued to Magellan Health

   Services, and Policy No. M103800 issued to Continental Airlines.




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         4.    Attached as Exhibit A is the COI rate table applicable to Certificate No.

   6134709/10263 under Policy No. M101500.

         5.    Attached as Exhibit B is the COI rate table applicable to Certificate No.

   6185028/10274 under Policy No. M104310.

         6.    Attached as Exhibit C is the COI rate table applicable to Certificate No.

   6176797/10136 under Policy No. M103800.


   Dated: February 13, 2020                               By: __/s/ Anne Marie Nicholas__
          Bethlehem, Pennsylvania                               Anne Marie Nicholas




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                             Exhibit A
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                                   Hyatt Corporation
                                Policy Number: M101500
                             Group Universal Life Insurance
                   Connecticut General Life Insurance Company (CIGNA)
                        Cost of Insurance Chart for Ported Rates

To determine your cost of insurance, find your age/your spouse’s age in the left column and read across to find the
monthly cost of insurance for each $1,000 of coverage. These rates are effective May 1, 2009 but do not reflect any
contributions to the Cash Accumulation Fund. Rates are subject to change but will not exceed the guaranteed cost of
insurance shown in your Certificate. Your premium will be adjusted May 1st of each year based on your age as of that
date.


                                          Monthly Cost of Insurance
 Employee/Spouse         Monthly         Employee/Spouse        Monthly         Employee/Spouse        Monthly
    Age as of       Cost of Insurance       Age as of      Cost of Insurance       Age as of      Cost of Insurance
     May 1st        (Rates per $1,000)       May 1st       (Rates per $1,000)       May 1st       (Rates per $1,000)
        16                0.132                44                0.364                72                4.267
        17                0.144                45                0.395                73                4.727
        18                0.152                46                0.427                74                5.234
        19                0.157                47                0.461                75                5.778
        20                0.159                48                0.498                76                6.352
        21                0.158                49                0.539                77                6.948
        22                0.156                50                0.585                78                7.574
        23                0.153                51                0.637                79                8.250
        24                0.149                52                0.696                80                8.998
        25                0.146                53                0.763                81                9.844
        26                0.143                54                0.837                82               10.807
        27                0.142                55                0.917                83               11.884
        28                0.142                56                1.001                84               13.054
        29                0.143                57                1.091                85               14.293
        30                0.146                58                1.187                86               15.585
        31                0.150                59                1.292                87               16.922
        32                0.156                60                1.409                88               18.305
        33                0.163                61                1.540                89               19.747
        34                0.171                62                1.689                90               21.270
        35                0.181                63                1.856                91               22.920
        36                0.193                64                2.042                92               24.780
        37                0.207                65                2.243                93               27.074
        38                0.224                66                2.457                94               30.282
        39                0.242                67                2.685                95               35.390
        40                0.263                68                2.931                96               44.622
        41                0.285                69                3.202                97               63.569
        42                0.310                70                3.510                98               82.041
        43                0.336                71                3.861                99               88.254

All rates include a charge of 2% to cover premium tax and other taxes. The monthly cost for Dependent Children Term
Rider is $2.00 for $10,000.00 of coverage, regardless of the number of children covered.




For a complete description of GUL options, benefits, and limitations, please refer to your Certificate of Insurance.
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                             Exhibit B
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                                Magellan Health Services
                                Policy Number: M104310
                             Group Universal Life Insurance
                   Connecticut General Life Insurance Company (CIGNA)
                        Cost of Insurance Chart for Ported Rates

To determine your cost of insurance, find your age/your spouse’s age in the left column and read across to find the
monthly cost of insurance for each $1,000 of coverage. These rates are effective January 1, 2010 but do not reflect any
contributions to the Cash Accumulation Fund. Rates are subject to change but will not exceed the guaranteed cost of
insurance shown in your Certificate. Your premium will be adjusted January 1st of each year based on your age as of that
date.


                                           Monthly Cost of Insurance
 Employee/Spouse          Monthly         Employee/Spouse         Monthly         Employee/Spouse         Monthly
    Age as of        Cost of Insurance       Age as of       Cost of Insurance       Age as of       Cost of Insurance
   January 1st       (Rates per $1,000)     January 1st      (Rates per $1,000)     January 1st      (Rates per $1,000)
        16                 0.157                44                 0.266                72                5.343
        17                 0.154                45                 0.287                73                5.725
        18                 0.152                46                 0.315                74                6.143
        19                 0.150                47                 0.351                75                6.645
        20                 0.147                48                 0.389                76                7.180
        21                 0.146                49                 0.426                77                7.906
        22                 0.144                50                 0.554                78                8.855
        23                 0.145                51                 0.603                79                9.792
        24                 0.147                52                 0.662                80                10.649
        25                 0.147                53                 0.730                81                11.787
        26                 0.151                54                 0.808                82                12.934
        27                 0.153                55                 0.964                83                14.108
        28                 0.154                56                 1.081                84                15.523
        29                 0.160                57                 1.219                85                17.025
        30                 0.163                58                 1.360                86                18.498
        31                 0.169                59                 1.514                87                20.252
        32                 0.177                60                 1.571                88                22.167
        33                 0.185                61                 1.771                89                24.105
        34                 0.188                62                 1.977                90                26.323
        35                 0.191                63                 2.213                91                28.787
        36                 0.193                64                 2.461                92                30.938
        37                 0.194                65                 2.749                93                33.455
        38                 0.197                66                 3.067                94                36.118
        39                 0.204                67                 3.383                95                38.937
        40                 0.201                68                 3.716                96                41.714
        41                 0.213                69                 4.065                97                44.762
        42                 0.228                70                 4.485                98                47.695
        43                 0.246                71                 4.914                99                51.277

All rates include a charge of 2% to cover premium tax and other taxes. The monthly cost for Dependent Children Term
Rider is $1.10 for $5,000 and $2.20 for $10,000 in coverage, regardless of the number of children covered.




For a complete description of GUL options, benefits, and limitations, please refer to your Certificate of Insurance.
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                             Exhibit C
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                                   Continental Airlines
                                Policy Number: M103800
                             Group Universal Life Insurance
                   Connecticut General Life Insurance Company (CIGNA)
                        Cost of Insurance Chart for Ported Rates

To determine your cost of insurance, find your age/your spouse’s age in the left column and read across to find the
monthly cost of insurance for each $1,000 of coverage. These rates are effective January 01, 2009 but do not reflect any
contributions to the Cash Accumulation Fund. Rates are subject to change but will not exceed the guaranteed cost of
                                                                             st
insurance shown in your Certificate. Your premium will be adjusted January 1 of each year based on your age as of that
date.




                                           Monthly Cost of Insurance
 Employee/Spouse          Monthly         Employee/Spouse         Monthly         Employee/Spouse         Monthly
    Age as of        Cost of Insurance       Age as of       Cost of Insurance       Age as of       Cost of Insurance
   January 1st       (Rates per $1,000)     January 1st      (Rates per $1,000)     January 1st      (Rates per $1,000)
        16                 0.163                44                 0.329                72                 5.343
        17                 0.164                45                 0.545                73                 5.725
        18                 0.164                46                 0.545                74                 6.143
        19                 0.164                47                 0.545                75                 7.475
        20                 0.164                48                 0.545                76                 7.475
        21                 0.164                49                 0.545                77                 7.906
        22                 0.164                50                 0.816                78                 8.855
        23                 0.164                51                 0.836                79                 9.792
        24                 0.164                52                 0.836                80                10.949
        25                 0.164                53                 0.836                81                11.787
        26                 0.164                54                 0.836                82                12.934
        27                 0.164                55                 1.274                83                14.108
        28                 0.164                56                 1.274                84                15.523
        29                 0.164                57                 1.274                85                17.025
        30                 0.181                58                 1.360                86                18.498
        31                 0.181                59                 1.514                87                20.252
        32                 0.181                60                 2.177                88                22.171
        33                 0.185                61                 2.428                89                24.105
        34                 0.188                62                 2.548                90                26.323
        35                 0.219                63                 2.548                91                28.787
        36                 0.219                64                 2.548                92                30.938
        37                 0.219                65                 3.529                93                33.455
        38                 0.219                66                 3.529                94                36.118
        39                 0.219                67                 3.529                95                38.937
        40                 0.329                68                 3.716                96                41.714
        41                 0.329                69                 4.065                97                44.762
        42                 0.329                70                 4.966                98                47.695
        43                 0.329                71                 4.966                99                51.277

All rates include a charge of 2% to cover premium tax and other taxes. The monthly cost for Dependent Children Term
Rider is $1.50 for $10,000 of coverage, regardless of the number of children covered.

For a complete description of GUL options, benefits, and limitations, please refer to your Certificate of Insurance.
